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11 Lee Asian Pacific Democratic Club PAC Sponsored by Neighbors for a
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13
                        UNITED STATES DISTRICT COURT
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                FOR THE NORTHERN DISTRICT OF CALIFORNIA
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     SAN FRANCISCANS SUPPORTING ) Case No: 3:22-cv-02785 CRB
17 PROP B; EDWIN M. LEE ASIAN               )
     PACIFIC DEMOCRAIC CLUB PAC ) PRELIMINARY INJUNCTION
18   SPONSORED BY NEIGHBORS FOR ) APPEAL
     A BETTER SAN FRANCISCO                 )
19   ADVOCACY; and TODD DAVID,              ) PLAINTIFFS’ NOTICE OF
                                            ) APPEAL AND
20                           Plaintiffs,    ) REPRESENTATION
                                            ) STATEMENT
21                     v.                   )
                                            )
22   DAVID CHIU, in his official capacity ) The Hon. Charles R. Breyer
     as City Attorney of San Francisco; the )
23   SAN FRANCISCO ETHICS                   )
     COMMISSION; CHESA BOUDIN, in )
24   his official capacity as San Francisco )
     District Attorney; and the CITY AND )
25   COUNTY OF SAN FRANCISCO,               )
                                            )
26                           Defendants.    )
     ________________________________ ____)
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     Notice of Appeal                       1        Case No. 3:22-cv-02785 CRB
          Case 3:22-cv-02785-CRB Document 38 Filed 06/03/22 Page 2 of 3




 1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2      NOTICE IS HEREBY GIVEN that Plaintiffs San Franciscans
 3 Supporting Prop B, Edwin M. Lee Asian Pacific Democratic Club PAC
 4 Sponsored by Neighbors for a Better San Francisco Advocacy, and Todd
 5 David hereby appeal to the United States Court of Appeals for the Ninth
 6 Circuit from this Court’s order denying Plaintiffs’ motion for a temporary
 7 restraining order and preliminary injunction [ECF No. 35] filed and
 8 entered in this case on June 1, 2022.
 9      Dated: June 3, 2022                Respectfully submitted,
10                                       By: /s/ Alan Gura
      Nicholas Sanders (SBN 307,402)         Alan Gura (SBN 178,221)
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     Notice of Appeal                       2          Case No. 3:22-cv-02785 CRB
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 1                           REPRESENTATION STATEMENT
                              NINTH CIRCUIT RULE 3-2(B)
 2
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 3 M. Lee Asian Pacific Democratic Club PAC Sponsored by
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     Notice of Appeal                                Case No. 3:22-cv-02785 CRB
